O A O 472 (Rev. 12/03) O rder of D etention Pending Trial


                                             U NITED STATES D ISTRICT C OURT
                          WESTERN                                            District of                                NORTH CAROLINA
          UNITED STATES OF AMERICA
                                   V.                                                     ORDER OF DETENTION PENDING TRIAL
          TROY LAMONT CLEMENT                                                           Case     1:09 cr 23-4
                                Defendant
    In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts require the
detention of the defendant pending trial in this case.
                                                            Part I— Findings of Fact
G (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a G federal offense G state
         or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed - that is
         G a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
         G an offense for which the maximum sentence is life imprisonment or death.
         G an offense for which a maximum term of imprisonment of ten years or more is prescribed in
                                                                                                                                                 .*
         G a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C.
              § 3142(f)(1)(A)-(C), or comparable state or local offenses.
G (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
G (3) A period of not more than five years has elapsed since the G date of conviction G release of the defendant from imprisonment
         for the offense described in finding (1).
G (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
         safety of (an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                                        Alternative Findings (A)
X    (1) There is probable cause to believe that the defendant has committed an offense
           X  for which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C. § 841                                        .
              under 18 U.S.C. § 924(c).
X    (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will reasonably assure
         the appearance of the defendant as required and the safety of the community.
                                                               Alternative Findings (B)
     (1) There is a serious risk that the defendant will not appear.
X    (2) There is a serious risk that the defendant will endanger the safety of another person or the community.

                                            SEE ATTACHED ADDENDUM TO DETENTION ORDER




                                            Part II—W ritten Statement of Reasons for Detention
    I find that the credible testimony and information submitted at the hearing establishes by X clear and convincing evidence                                    a prepon-
derance of the evidence that
                                       SEE ATTACHED ADDENDUM TO DETENTION ORDER




                                                   Part III— Directions Regarding Detention
     The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections facility separate,
to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose of an appearance
in connection with a court proceeding.

                        D ate                                                                               Signature of Judge
                                                                                            D ennis L. H ow ell, U nited States M agistrate Judge
                                                                                                         N am e and Title of Judge

*Insert as applicable: (a) C ontrolled Substances A ct (21 U .S.C . § 801 et seq.); (b) C ontrolled Substances Import and Export A ct (21 U .S.C . § 951 et seq.); or (c)
Section 1 of A ct of Sept. 15, 1980 (21 U .S.C . § 955a).


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                                IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                         ASHEVILLE DIVISION
                                              1:09 cr 23-4

          UNITED STATES OF AMERICA,

          Vs.                                                                      ADDENDUM TO
                                                                                  DETENTION ORDER
          TROY LAMONT CLEMENT.
          _______________________________

          I.    FACTORS CONSIDERED

                18 U.S.C. § 3142:
                (g) Factors to be considered.--The judicial officer shall, in determining whether there are
                conditions of release that will reasonably assure the appearance of the person as required and
                the safety of any other person and the community, take into account the available information
                concerning--
                 (1) The nature and circumstances of the offense charged, including whether the offense is a
                 crime of violence, a Federal crime of terrorism, or involves a minor victim or a controlled
                 substance, firearm, explosive, or destructive device;
                 (2) the weight of the evidence against the person;

                 (3) the history and characteristics of the person, including--

                      (A) the person's character, physical and mental condition, family ties, employment,
                           financial resources, length of residence in the community, community ties, past
                            conduct, history relating to drug or alcohol abuse, criminal history, and record
                            concerning appearance at court proceedings; and
                      (B) whether, at the time of the current offense or arrest, the person was on probation,
                          on parole, or on other release pending trial, sentencing, appeal, or completion of
                          sentence for an offense under Federal, State, or local law; and
                (4) the nature and seriousness of the danger to any person or the community that would be
                   posed by the person's release.




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               II.                                        FINDINGS
  As to factor:


  (g)(1): The nature and circumstances of the offense charged involve a controlled substance,
 that being a significant amount of cocaine base.


  (g)(2): The weight of the evidence against the person appears to be strong, compelling and
 significant. Wire intercepts of telephone conversations were made by the Drug Enforcement
 Agency which recorded telephone conversations between the defendant and a co-defendant
 in which the defendant made arrangements to come to the home of the co-defendant and to
 purchase quantities of cocaine base.


  (g)(3): The history and characteristics of the person


      (A) Family ties, employment, financial resources, length of residence in the community,
  community ties, past conduct, history relating to drug or alcohol abuse, criminal history
  and record concerning appearance at court appearances indicate that the defendant has
  family ties, he has had employment but is not employed at the present time. The defendant
  has had a long length of residence in the Buncombe County community, having resided
  there all of his life. The defendant’s history shows that he has diabetes, high blood pressure
  and heart issues. The defendant’s history relating to drug or alcohol abuse shows that he
  is a “heavy drinker of alcohol” and has consumed such amounts of alcohol for the past 11
  years. The defendant has participated in alcohol outpatient treatment on three occasions.
  The defendant has used cocaine since 1987. In regard to the defendant’s criminal history
  relating to drug or alcohol abuse, the defendant has the following convictions:
         Offense                                                            Conviction Date
 Misdemeanor solicitation to commit a felony, that being possession
       of counterfeit controlled substances                                     09/19/09
 Intoxicated and disruptive                                                     07/15/03

 In addition to the above referenced offenses, the defendant has the following additional
 criminal convictions:
           Offense                                                           Conviction Date
 Assault on a female                                                        11/17/88
 Damage to personal property                                                 07/24/91
 Misdemeanor domestic violence protection order violation                    09/17/03
 Resisting an officer                                                        07/15/03
 Misdemeanor breaking or entering, misdemeanor larceny                        09/19/03
 Second degree trespass                                                       01/04/06
 Felony breaking or entering, felony larceny after breaking or entering,
    communicating threats, injury to personal property, misdemeanor
    breaking or entering, domestic criminal trespass                           01/04/06
 The defendant’s record concerning appearance at court appearances shows that the defendant
 appears in court as he is scheduled to do.


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      (B) At the time of the current offense or arrest, the defendant was on probation, parole
  or other release pending trial, sentencing, appeal or completion of sentence. It appears that
  this factor does exist. The defendant had been charged with misdemeanor larceny on
  December 24, 2008 and had been released on terms and conditions of bond.


 (g)(4): The nature and seriousness of the danger to any person or the community that would
 be posed by the person’s release indicate by clear and convincing evidence that the release
 of the defendant would create a risk of harm or danger to any other person or the community.
 The undersigned finds that there is a statutory presumption, based upon the charges against
 the defendant, that the release of the defendant would create a risk of harm or danger to any
 other person or the community. This presumption is subject to rebuttal by the defendant.
 The presumption has not rebutted. The testimony in this matter shows that the weight of the
 evidence against the defendant is strong and signification. The Drug Enforcement Agency
 has recorded telephone conversations between the defendant and one of his co-defendants
 in which the defendant was making the necessary arrangements to purchase crack cocaine.
 The criminal record of the defendant shows that the defendant has committed the offense of
 assault on a female, misdemeanor domestic trespass, resisting an officer and another count
 of domestic criminal trespass. As a result, the undersigned finds by clear and convincing
 evidence that the release of the defendant would create a risk of harm or danger to any other
 person or the community and the defendant has not rebutted the presumption in favor of
 detention and as a result, the undersigned will enter an order detaining the defendant.
 The undersigned does find by a preponderance of the evidence that the defendant has
 rebutted the presumption that his release would create a risk of flight on his part. The entire
 criminal record of the defendant, which is significant, shows that all of the defendant’s
 criminal activity has been involved in Buncombe County, NC. As a result, the undersigned
 finds that the release of the defendant would not create a risk of flight on his part.
 WHEREFORE, it is ORDERED that the defendant be detained pending further
 proceedings in this matter.
                                           Signed: April 20, 2009




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